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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

CENTER FOR BIOLOGICAL
DIVERSITY, et al.,

               Plaintiffs,
v.                                                         Case No.: 1:18-cv-2396

KIRSTJEN M. NIELSEN,
in her official capacity as Secretary,
U.S. Department of Homeland Security, et
al.,

               Defendants.



                  DECLARATION OF ANTHONY T. ELISEUSON
            IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

I, Anthony T. Eliseuson, hereby declare:

       1.      My name, office address, and telephone number are as follows:

       Anthony T. Eliseuson
       Animal Legal Defense Fund
       150 South Wacker Drive, Suite 2400
       Chicago, Illinois 60606
       Tel: (707) 795-2533

       2.      I am a member in good standing of the bars of the State of Minnesota (No.

0335630, admitted July 30, 2004) and State of Illinois (No. 6277427, admitted November

7, 2002). I am also admitted to practice in the following federal courts: United States

Court of Appeals for the Fifth Circuit, United States Court of Appeals for the Sixth

Circuit, United States Court of Appeals for the Seventh Circuit, United States Court of

Appeals for the Eighth Circuit, United States Court of Appeals for the Ninth Circuit,
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United States Court of Appeals for the Eleventh Circuit, United States District Court for

the Central District of Illinois, United States District Court for the District of Colorado,

United States District Court for the District of Minnesota, United States District Court for

the Eastern District of Michigan, United States District Court for the Northern District of

Illinois, and the United States District Court for the Northern District of Indiana.

       3.      I am currently in good standing with all states, courts, and bars in which I

am admitted.

       4.      I certify that there are no pending disciplinary proceedings against me

before any bar, and I have not been disciplined by any bar in the past.

       5.      I have previously been admitted pro hac vice in this Court in two cases

during the prior two years: Graham v. The Association of Zoos and Aquariums, Case No.

1:16-mc-01215-RDM; and Center for Biological Diversity et al. v. Kirstjen Nielsen et al.,

Case No. 1:18-cv-00655-KBJ.

       6.      I do not have an office located within the District of Columbia.

       I declare under penalty of perjury that the foregoing is true and correct.

Dated this 18th day of October, 2018.          Respectfully submitted,


                                               /s/ Anthony T. Eliseuson
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